          Case 3:22-cv-00045-LRH-CLB Document 44-1 Filed 09/22/22 Page 1 of 2




     John M. Nolan, Esq. (NSBN 15790)
1
     2750 Peavine Creek Road
2    Reno, Nevada 89523
     jmnolan84@gmail.com
3
     Michael Langton, Esq. (NSBN 290)
4
     801 Riverside Drive
5    Reno, NV 89503
     Telephone: (775) 329-3612
6    mlangton@sbcglobal.net
7
     Mark Mausert, Esq. (NSBN 2398)
8    Sean McDowell, Esq. (NSBN 15962)
     729 Evans Avenue
9    Reno, Nevada 89512
10
     Telephone: (775) 786-5477
     mark@markmausertlaw.com
11
     Attorneys for Plaintiff Lars Jensen
12
                                    UNITED STATES DISTRICT COURT
13
                                         DISTRICT OF NEVADA
14
       LARS JENSEN, an individual,
15                                                          Case No. 3:22-cv-00045-ART-CLB
                       Plaintiff,
16
           v.                                               JOHN M. NOLAN DECLARATION
17
       NATALIE BROWN, et al
18
                        Defendants.
19

20

21          I, John M. Nolan, declare under penalty of perjury as follows:
22          1. I am co-counsel for Plaintiff Dr. Lars Jensen.
23
            2. This declaration is in support of Plaintiff’s Motion to Amend his Response in
24
                Opposition to Defendants’ Brown, et al., Motion to Dismiss the First Amended
25

26              Verified Complaint.

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                                                       -1-
                                           Declaration of John M. Nolan
                                            3:22-cv-00045-ART-CLB
         Case 3:22-cv-00045-LRH-CLB Document 44-1 Filed 09/22/22 Page 2 of 2




           3. In connection with my duties as co-counsel, I have obtained personal knowledge of
1

2             the facts stated herein.

3          4. On September 7, 2022, Plaintiff Lars Jensen forwarded to me an email with two
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              attachments from Elena Bubnova.
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           5. The two attachments contained approximately 289 pages of emails and other
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7
              documents that were part of a public records request that Plaintiff Lars Jensen had

8             originally requested on September 16, 2021.
9          6. Attached to the accompanying Motion to Amend are true and correct copies of 3
10
              pages of relevant documents from the public records disclosure from Elena Bubnova
11
              on September 7, 2022 listed as Exhibit H.
12

13

14   DATED: September 22, 2022
15
                                                     By: /s/ John M. Nolan
16                                                       John M. Nolan, Esq. (NSBN 15790)
                                                         2750 Peavine Creek Road
17                                                       Reno, Nevada 89523
                                                         jmnolan84@gmail.com
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                                                     -2-
                                         Declaration of John M. Nolan
                                          3:22-cv-00045-ART-CLB
